Case 1:18-cv-00329-LO-IDD Document 14 Filed 09/18/18 Page 1 of 1 PageID# 175



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



   Board of Trustees, Sheet Metal
   Workers' National Pension Fund,et al..

                          Plaimiffs,
                                                             Case No. I:18-cv-329-LO-IDD
           V.



   B Brand Sheet Metal Incorporated Inc.,

                          Defendants.



                                            ORDER


       This matter comes before the Court on the Report and Recommendation(R&R)of United

States Magistrate Judge Ivan D. Davis, dated August 22, 2018 (Dkt. 13). Defendant did not

object to the R&R. The Court has reviewed the Complaint, Plaintiffs" Motion for Default

Judgment(Dkt, 7). and the supporting documents,and ADOPTS the findings and

recommendations of Judge Davis.

       Accordingly, for the reasons cited by Judge Davis and for good cause shown, Plaintiffs'

Motion for Default Judgment is GRANTED. The Clerk of Court is instructed to enter Judgment

pursuant to Fed. R. Civ. P. 55 in Favor of Plaintiffs and against Defendants for $84,452.83.




September(J_,2018                                            Liani 0'(
Alexandria. Virginia                                         United States"District Judge
